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 6 United States of America

 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             CASE NO. Cr 1:12-cr-00038 AWI-
                                                           BAM
12                                Plaintiff,
                                                           STIPULATION REGARDING
13   v.                                                    CONTINUANCE; FINDINGS AND
                                                           ORDER
14   JOSEPH EDWIN GABLE,
15                                Defendant,
16
                                               STIPULATION
17
            Plaintiff United States of America, by and through its counsel of record, and defendant, by
18
     and through his counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for sentencing on April 8, 2013, at 10:00 a.m.

21          2.      By this stipulation, the parties now move to continue the sentencing hearing date to
22 April 22, 2013, at 10 a.m.

23
            3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      The continuance is necessary to allow the defendant to timely file a sentencing
25
     memorandum and allow the government sufficient time to respond
26

27 ////

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                           Case 1:12-cr-00038-AWI-BAM Document 120 Filed 04/04/13 Page 2 of 2


     IT IS SO STIPULATED.
 1

 2 DATED:                        April 3, 2013.    Respectfully submitted,
 3                                                 BENJAMIN B. WAGNER
                                                   United States Attorney
 4

 5                                                 /s/ Karen A. Escobar___________________
                                                   KAREN A. ESCOBAR
 6                                                 Assistant United States Attorney
 7
     DATED:                      April 3, 2013.
 8
 9                                                 /s/ Steven Crawford _____________
                                                   STEVEN CRAWFORD
10                                                 Counsel for Defendant
11

12                                                        ORDER
13

14 IT IS SO ORDERED.

15
     Dated: April 3, 2013
16   DEAC_Signature-END:
                                                         SENIOR DISTRICT JUDGE

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